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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



SECURITIES AND EXCHANGE                      )      Case No.: 1:14 CV 1155
COMMISSION,                                  )
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )
THOMAS ABDALLAH                              )
(aka Thomas Abraham), et al.,                )
                                             )
       Defendants                            )      ORDER



       Currently pending before the court in the above-captioned case is the Fourth Interim

Application for Compensation and Reimbursement of Expenses (“Application”) (ECF No. 379)

of Whitmer & Ehrman, LLC (“W&E”), counsel for Receiver James Ehrman (“Receiver”), for the

period commencing October 1, 2019 through and including October 5, 2020. As of the date of

this Order, no party in interest has filed an objection or other response to the Application or

requested a hearing on the Application.

       The court, having considered the Application and the statements of counsel contained

therein and the docket for this case, finds that the compensation requested by W&E for services

rendered in connection with their representation of the Receiver for which they seek interim

allowance in the Application, is reasonable and appropriate under the Order Appointing Receiver

(ECF No. 119, at ¶¶ 59–64) and the “Billing Instructions for Receivers in Civil Actions

Commenced by the U.S. Securities and Exchange Commission.”
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       Accordingly, the court grants this current Application, (ECF No. 379). W&E is allowed,

on an interim basis (See ECF No. 119, at ¶ 61), compensation for services rendered to the

Receiver during the period commencing October 1, 2019 through and including October 5, 2020,

in the amount of $165,157.50 for W&E attorney’s fees. W&E did not seek reimbursement for out

of pocket expenses. The Receiver is authorized to pay W&E 80% of attorney’s fees ($132,126.00)

as follows:

              (a) $132,126.00 to be paid from the General Receivership.



       IT IS SO ORDERED.

                                                    /S/ SOLOMON OLIVER, JR.
                                                    UNITED STATES DISTRICT JUDGE


September 2, 2021
